     Fill in this information to identify the case:

     Debtor 1              SILVIA A PAESANO


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          17-23635GLT




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  M & T BANK                                                                       3

 Last 4 digits of any number you use to identify the debtor's account                         4   7   0   4

 Property Address:                             405 WELKER ST
                                               JEANNETTE PA 15644




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        5,804.08

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        5,804.08

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $         650.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $         650.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        6,454.08



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $477.60
         The next postpetition payment is due on                 6 / 1 / 2022
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     SILVIA A PAESANO                                                 Case number   (if known)   17-23635GLT
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    06/03/2022


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     SILVIA A PAESANO                                        Case number   (if known)   17-23635GLT
             Name




                                          Disbursement History

Date         Check #     Name                              Posting Type                                        Amount
MORTGAGE ARR. (Part 2 (b))
01/25/2021   1185146     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        708.68
02/22/2021   1188271     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        256.17
03/26/2021   1191550     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        835.17
04/26/2021   1194810     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        460.76
05/25/2021   1197943     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        459.22
06/25/2021   1201126     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        457.47
07/26/2021   1204327     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        477.05
08/26/2021   1207450     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        495.96
09/24/2021   1210568     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        492.49
10/25/2021   1213646     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        480.33
11/22/2021   1216682     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        680.78
                                                                                                              5,804.08

Post Petition Claim (1305) (Part 2 (d))
01/25/2021 1185147       M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                         79.37
02/05/2021               M & T BANK                        REALLOCATION OF PRINCIPAL                            -79.37
03/25/2022 1228657       M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                       650.00
                                                                                                               650.00

MORTGAGE REGULAR PAYMENT (Part 3)
12/21/2017   1064634     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        698.09
01/18/2019               M & T BANK                        REALLOCATION OF CONTINUING DEBT                    5,297.08
01/25/2019   1106348     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        605.35
02/25/2019   1109599     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        592.17
03/25/2019   1112892     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        581.36
04/26/2019   1116183     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        629.46
05/24/2019   1119583     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        298.13
06/25/2019   1122980     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        915.32
07/29/2019   1126427     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        620.32
08/27/2019   1129895     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        623.78
09/24/2019   1133201     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        312.97
10/24/2019   1136529     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        694.28
11/25/2019   1139999     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        446.91
12/23/2019   1143381     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        309.17
01/28/2020   1146837     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        584.65
02/25/2020   1150362     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        446.91
03/23/2020   1153845     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        446.91
04/27/2020   1157305     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        446.91
05/26/2020   1160643     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        446.91
06/26/2020   1163781     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        446.91
07/29/2020   1166901     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        446.91
08/25/2020   1169979     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        446.91
09/28/2020   1173063     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        446.91
10/26/2020   1176152     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        446.91
11/24/2020   1179229     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        635.21
12/21/2020   1182182     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        465.74
02/05/2021               M & T BANK                        REALLOCATION OF CONTINUING DEBT                       79.37
02/22/2021   1188271     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        768.43
03/26/2021   1191550     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        444.82
04/26/2021   1194810     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        444.82
05/25/2021   1197943     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        444.82
06/25/2021   1201126     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        444.82
07/26/2021   1204327     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        444.82
08/26/2021   1207450     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        444.82
09/24/2021   1210568     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        444.82
10/25/2021   1213646     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        444.82
11/22/2021   1216682     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        444.82
12/23/2021   1219749     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        444.82
01/26/2022   1222818     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        543.16
02/23/2022   1225703     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        477.60
03/25/2022   1228656     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        477.60
04/26/2022   1231702     M & T BANK                        AMOUNTS DISBURSED TO CREDITOR                        477.60


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Debtor 1     SILVIA A PAESANO                              Case number   (if known)   17-23635GLT
             Name




                                Disbursement History

Date         Check #     Name                    Posting Type                                         Amount
                                                                                                    25,604.14




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                                           CERTIFICATE OF SERVICE

I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

SILVIA A PAESANO
405 WELKER STREET
JEANNETTE, PA 15644

BRIAN C THOMPSON ESQ
THOMPSON LAW GROUP PC
125 WARRENDALE-BAYNE ROAD
WARRENDALE, PA 15086

M & T BANK
ATTN PAYMENT PROCESSING
POB 1288
BUFFALO, NY 14240-1288

M & T BANK
PO BOX 840
BUFFALO, NY 14240

MCCALLA RAYMER ET AL
NATL BANKRUPTCY DEPT**
1544 OLD ALABAMA RD**
ROSWELL, GA 30076-2102




6/3/22                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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